














NUMBER 13-07-029-CR



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG 


                                                                                                                      


ROLAND DON KRAWIETZ						 	 Appellant,


v.



THE STATE OF TEXAS,							Appellee.

                                                                                                                                      


On appeal from the 347th District Court of Nueces County, Texas.


                                                                                                                      


MEMORANDUM OPINION



Before Chief Justice Valdez and Justices Yañez and Benavides


Memorandum Opinion by Justice Yañez


									

	A jury found appellant, Roland Don Krawietz, guilty of felony Driving While
Intoxicated ("DWI"). (1)  Pursuant to an agreed recommendation, the trial court sentenced
appellant to eight years' imprisonment.  Appellant's counsel has filed a brief with this Court
asserting there is no basis for appeal. (2)  We agree and affirm the trial court's judgment.

Anders Brief

	Counsel's brief reveals that he has reviewed the clerk's record and reporter's record
in this case and has concluded that appellant's appeal presents no issues which warrant
appellate review. (3)  The brief meets the requirements of Anders as it presents a
professional evaluation showing why there are no arguable grounds for advancing an
appeal. (4)  In compliance with High v. State, (5) counsel has carefully discussed why, under
controlling authority, there are no errors in the trial court's judgment.  Appellant's counsel
informed appellant of his right to review the appellate record and to file a pro se brief. (6) 
More than thirty days have passed, and no pro se brief has been filed. (7)    

	Upon receiving a "frivolous appeal" brief, the appellate courts must conduct "a full
examination of all the proceedings to decide whether the case is wholly frivolous." (8)  We
have carefully reviewed the appellate record and counsel's brief. (9)  We agree with
appellant's counsel that the appeal is without merit. (10)  Accordingly, we affirm the judgment
of the trial court.

Motion to Withdraw


	In accordance with Anders, counsel has asked permission to withdraw as counsel
for appellant. (11)  An appellate court may grant counsel's motion to withdraw filed in
connection with an Anders brief. (12)  We grant counsel's motion to withdraw.

	We order counsel to advise appellant promptly of the disposition of this case and
the availability of discretionary review. (13)      

                                                               							


                                                                                                                                            
							LINDA REYNA YAÑEZ,

							Justice






Do not publish.  Tex. R. App. P. 47.2(b).


Memorandum opinion delivered and filed 

this the 7th day of August, 2008. 
1.  See Tex.  Penal Code Ann. § 49.04 (Vernon 2003).   
2.  See Anders v. California, 386 U.S. 738, 744 (1967).
3.  See id.  
4.  See Stafford v. State, 813 S.W.2d 503, 510 n.3 (Tex. Crim. App. 1991) (en banc). 
5.  See High v. State, 573 S.W.2d 807, 813 (Tex. Crim. App. 1978).  
6.  See In re Schulman, 252 S.W.3d 403, 408 (Tex. Crim. App. 2008);  Sowels v. State, 45 S.W.3d 690,
693 (Tex. App.-Waco 2001, no pet.).  
7.  See Schulman, 252 S.W.3d at 409 (citing Johnson v. State, 885 S.W.2d 641, 647 n.3 (Tex.
App.-Waco 1994, pet. ref'd), modified by Wilson v. State, 955 S.W.2d 693 (Tex. App.-Waco 1997, no pet.)). 
8.  Penson v. Ohio, 488 U.S. 75, 80 (1988); see Garza v. State, 126 S.W.3d 312, 313 (Tex.
App.-Corpus Christi 2004, no pet.).  
9.  See Schulman, 252 S.W.3d at 409; Bledsoe v. State, 178 S.W.3d 824, 826-27 (Tex. Crim. App.
2005). 
10.  See Bledsoe, 178 S.W.3d at 826-27. 
11.  See Anders, 386 U.S. at 744.
12.  Schulman, 252 S.W.3d at 409; see Stafford, 813 S.W.2d at 511 (noting that Anders brief should
be filed with request for withdrawal from case).  
13.  Schulman, 252 S.W.3d at 408; see Ex parte Wilson, 956 S.W.2d 25, 27 (Tex. Crim. App. 1997) (en
banc) (per curiam). 


